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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

                                           :
ANTONIO EDWARDS
                                           :

        v.                                 :   Civil Action No. DKC 16-3283
                                               Criminal No. DKC 13-0650-003
                                           :
UNITED STATES OF AMERICA
                                           :

                              MEMORANDUM OPINION

        Presently pending and ready for resolution is a motion to

vacate       sentence      filed      by       Petitioner      Antonio      Edwards

(“Petitioner”).       (ECF No. 299).       Petitioner has since filed three

supplements to his motion to vacate sentence.                (ECF Nos. 322; 333;

342).    For the following reasons, the motion and first supplement

will be denied and the additional supplements will be dismissed as

untimely.

I.      Background

        On   June   27,   2014,    Petitioner     was   convicted     by   jury    of

conspiracy to interfere with commerce by robbery in violation of

18 U.S.C. § 1951(a) (“Count 1”), conspiracy to possess with the

intent to distribute cocaine in violation of 21 U.S.C. § 846

(“Count 2”), conspiracy to possess a firearm in furtherance of a

drug trafficking crime and crime of violence in violation of 18

U.S.C. § 924(o) (“Count 3”), possession of a firearm in furtherance

of a drug trafficking crime and crime of violence in violation of
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18   U.S.C.     §   924(c)   (“Count   4”),    and   felon   in   possession     of

ammunition in violation of 18 U.S.C. § 922(g)(1) (“Count 5”).                    On

October 1, Petitioner was sentenced to 240 months imprisonment,

consisting of 180 months on Counts 1, 2, 3, and 5, concurrent, and

a consecutive 60 months on Count 4.              Petitioner appealed to the

United States Court of Appeals for the Fourth Circuit, and his

conviction was affirmed on April 19, 2016.             United States v. Hare,

820 F.3d 93 (4th Cir. 2016).1          Petitioner did not file a petition

for writ of certiorari with the Supreme Court of the United States.

Accordingly, Petitioner’s convictions became final on July 18,

2016.       See Clay v. United States, 537 U.S. 522, 525 (2003) (holding

that “a judgment of conviction becomes final when the time expires

for filing a petition for certiorari contesting the appellate

court’s affirmation of the conviction[]” – i.e., “90 days after

entry of the Court of Appeals’ judgment[]”).

        On September 29, 2016, Petitioner filed the pending motion to

vacate his sentence pursuant to 28 U.S.C. § 2255.                 (ECF No. 299).

The government was directed to respond to the motion and did so on

February 7, 2017.       (ECF No. 308).      Petitioner replied on March 20.

(ECF No. 311).        Petitioner has since filed three supplements to




        1
       Mr. Hare was a co-defendant whose appeal was decided along
with Petitioner’s.


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his motion to vacate sentence.        (ECF Nos. 322 (July 10, 2017); 333

(December 6, 2017); 342 (May 24, 2018)).

II.   Standard of Review

      To be eligible for relief under § 2255, a petitioner must

show, by a preponderance of the evidence, that his “sentence was

imposed in violation of the Constitution or laws of the United

States, or that the court was without jurisdiction to impose such

sentence, or that the sentence was in excess of the maximum

authorized by law[.]”      28 U.S.C. § 2255(a).         A pro se movant, such

as Petitioner, is entitled to have his arguments reviewed with

appropriate consideration.          See Gordon v. Leeke, 574 F.2d 1147,

1151–53 (4th Cir. 1978).       But if the § 2255 motion, along with the

files and records of the case, conclusively shows that he is not

entitled to relief, a hearing on the motion is unnecessary and the

claims raised in the motion may be dismissed summarily. § 2255(b).

III. Analysis

      A.    Original Motion to Vacate Sentence

      Petitioner moves to vacate his sentence on the grounds of (1)

ineffective     assistance     of    counsel,     (2)     court     error,       (3)

prosecutorial misconduct, and (4) constitutional error in light of

Johnson v. United States, 135 S.Ct. 2551 (2015).

      1.    Ineffective Assistance of Counsel

      To    establish    ineffective       assistance      of     counsel,       the

petitioner must show both that his attorney’s performance fell


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below an objective standard of reasonableness and that he suffered

actual prejudice.       Strickland v. Washington, 466 U.S. 668, 687

(1984). There is a strong presumption that counsel’s conduct falls

within a wide range of reasonably professional conduct, and courts

must be highly deferential in scrutinizing counsel’s performance.

Strickland, 466 U.S. at 688–89; Bunch v. Thompson, 949 F.2d 1354,

1363 (4th Cir. 1991).          Courts must judge the reasonableness of

attorney conduct “as of the time their actions occurred, not the

conduct’s consequences after the fact.”              Frye v. Lee, 235 F.3d

897, 906 (4th Cir. 2000). Furthermore, a determination need not be

made concerning the attorney’s performance if it is clear that no

prejudice could have resulted from some performance deficiency.

Strickland, 466 U.S. at 697.           To demonstrate actual prejudice,

Petitioner “must show that there is a reasonable probability that,

but   for   counsel’s    unprofessional        errors,   the     result   of     the

proceeding would have been different.”            Id. at 694.

      Although Petitioner states that “[a]ll three attorneys were

ineffective to [him] in some way” (ECF No. 299, at 5), Petitioner

only alleges deficiencies in the performance of his appellate

counsel, Jonathan Gladstone, who helped prepare the consolidated

opening brief (ECF No. 299-1, at 16-17).2            Petitioner argues that


      2Petitioner states, “The ineffectiveness of Mr. McCants is
all so different[,]” without providing any facts for the court to
evaluate Petitioner’s ineffective assistance claim regarding Mr.
McCants. (ECF No. 299-1, at 17).
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Mr. Gladstone “went against [Petitioner’s] expressed instructions

and filed an opening brief without notifying [Petitioner] or

allowing [Petitioner] to submit any input on what [Petitioner]

thinks the issues at trial that should have been addressed through

the appeal process.”      (Id. at 16).        As a result, Petitioner “[did]

not get his issues in review on the guns that he didn’t have

knowledge of[,] the act of prejudice during the motions before

trial[,] and several other issues that weren’t addressed[.]”                          (Id.

at 16-17).

     The selection of which issues to present on appeal is, almost

by its very nature, a strategic decision.                 See Burket v. Angelone,

208 F.3d 172, 189 (4th Cir. 2000) (“[A]ppellate counsel is given

significant    latitude      to     develop      a    strategy        that    may     omit

meritorious claims in order to avoid burying issues in a legal

jungle.”); Haynes v. United States, 451 F.Supp.2d 713, 722 (D.Md.

2006) (“Limiting the issues to the stronger or strongest ones while

winnowing     out   the   weaker       is     sound      appellate       strategy.”).

“Effective assistance of appellate counsel does not require the

presentation of all issues on appeal that may have merit, and [the

court] must accord counsel the presumption that he decided which

issues were most likely to afford relief on appeal.”                         Lawrence v.

Branker, 517 F.3d 700, 709 (4th Cir. 2008) (quotation marks,

brackets,    and    citations      omitted).     Consequently,          while       it   is

conceivably possible to bring an ineffective assistance claim

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premised on an appellate counsel’s failure to raise an issue, “it

will be difficult.”       Bell v. Jarvis, 236 F.3d 149, 164 (4th Cir.

2000) (quotation marks and brackets omitted).                  An ineffective

assistance claim based on an ignored issue generally will only

succeed “when ignored issues are clearly stronger than those

presented[.]”     Lawrence, 517 F.3d at 709.

     That standard has not been met here. Appellate counsel raised

several issues on appeal, making at least one argument of such

strength   that   the   Fourth   Circuit     addressed    the    appeal    in     a

published opinion.      Contrary to Petitioner’s contention, appellate

counsel did argue that there was no evidence that Petitioner was

aware of the presence of guns to support his conviction for

possession of firearms.      Consolidated Opening Brief of Appellants,

United States v. Hare, 2015 WL 1869623, at *66-70 (4th Cir. 2016).

Additionally, appellate counsel argued that based on the decision

of the Supreme Court in Rosemond v. United States, 134 S.Ct. 1240

(2014),    this   court’s    aiding   and    abetting    instructions          were

erroneous because they did not require Petitioner to know in

advance that guns would be involved in the robbery.               Consolidated

Opening Brief, at *58-66. In Mr. Gladstone’s opinion, the Rosemond

case “form[ed] the basis for one of the strongest arguments in the

appeal.”   (ECF No. 308-1, at 3).

     Petitioner states that there were “several other issues that

weren’t addressed” on appeal.             (ECF No. 299-1, at 17).              Mr.

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Gladstone     stated    in   his     response    to    Petitioner’s    motion     to

substitute counsel that he “was not willing to make arguments which

he believed were pointless and frivolous[]” and that “many of

[Petitioner’s] desired arguments [went] to [the] sufficiency of

the evidence” which Mr. Gladstone “[did] not believe would be

effective.”      (ECF No. 308-1, at 2).         Mr. Gladstone did not render

ineffective      assistance     in    deciding    to    forego     making   likely

fruitless arguments in favor of making other stronger arguments.

See, e.g., Shaneberger v. Jones, 615 F.3d 448, 452 (6th Cir. 2010)

(“Appellate counsel cannot be found to be ineffective for failure

to raise an issue that lacks merit.” (quotation marks and citation

omitted)).        Therefore,    Plaintiff’s      ineffective       assistance     of

counsel claim fails.

       2.    Court Error

       Petitioner argues that the court erred by failing to grant

his motion to sever “when there was clearly a Bruton issue between

co-defendants[]” and by failing to grant his motion to suppress

“the     audio   in    the   car[,]”    which    resulted     in    prejudice     to

Petitioner.       (ECF No. 299, at 5).             The government argues in

response that “both of [Petitioner’s] claims are procedurally

defaulted because [Petitioner] could have, but failed to, raise

the issue on direct appeal.”           (ECF No. 308, at 5).

             In order to collaterally attack a conviction
             or sentence based upon errors that could have
             been but were not pursued on direct appeal,

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             the movant must show cause and actual
             prejudice resulting from the errors of which
             he complains or he must demonstrate that a
             miscarriage of justice would result from the
             refusal of the court to entertain the
             collateral attack. The existence of cause for
             a procedural default must turn on something
             external to the defense, such as the novelty
             of the claim or a denial of effective
             assistance of counsel.     And, in order to
             demonstrate that a miscarriage of justice
             would result from the refusal of the court to
             entertain the collateral attack, a movant must
             show actual innocence by clear and convincing
             evidence.

United States v. Mikalajunas, 186 F.3d 490, 492-93 (4th Cir. 1999)

(internal citations omitted).

     In his reply, Petitioner contends that he could not raise

these issues on appeal due to ineffective assistance of his

appellate counsel, Mr. Gladstone.             (ECF No. 311, at 3).            To

establish cause for his default based upon ineffective assistance

of counsel, Petitioner must show that Mr. Gladstone’s performance

fell below an objective standard of reasonableness and that he

suffered prejudice as a result.       Mikalajunas, 186 F.3d at 493.           As

considered     above,   Mr.    Gladstone   did   not   render     ineffective

assistance on appeal.         Additionally, Petitioner has not shown by

clear and convincing evidence that he is actually innocent of the

crimes for which he was convicted.         Therefore, Petitioner’s claims

are procedurally defaulted.




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     3.   Prosecutorial Misconduct

     Petitioner   states     a    claim        of     prosecutorial       misconduct,

alleging Fifth Amendment and due process violations.                           (ECF No.

299, at 5).    However, Petitioner does not specify what conduct

violated his Fifth Amendment due process rights for the court to

evaluate this claim.

     4.   Johnson Claim

     Petitioner   argues     that    in       light    of    the     Supreme    Court’s

decision in Johnson, holding that the residual clause of the Armed

Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e)(2)(B)(ii), is

unconstitutionally vague, the residual clause in § 924(c) is also

unconstitutionally vague.        (ECF No. 299-1, at 5-7).              Additionally,

Petitioner argues that Count 1 “does not qualify as a crime of

violence under the ACCA clause.”                (Id. at 7).3           As a result,

Petitioner    contends   that       his       conviction       and     sentence       for

possession of a firearm in furtherance of a drug trafficking crime

and crime of violence under § 924(c) and his career offender

designation “violate due process of law.”                   (Id. at 5).

     The Fourth Circuit rejected both arguments on appeal:

          Section 924(c) prohibits the possession of a
          firearm in furtherance of a crime of violence
          or a drug trafficking crime. As the district
          court explained to the jury, Appellants could


     3 While a Hobbs Act Robbery qualifies as a crime of violence,
United States v. Mathis, 932 F.3d 242, 266 (4th Cir. 2019), a
conspiracy to commit a Hobbs Act Robbery does not. United States
v. Simms, 914 F.3d 229, 236 (4th Cir. 2019).
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          be found liable if they possessed a gun either
          in furtherance of the crime of violence
          charged in Count 1 or in furtherance of the
          drug trafficking crime charged in Count 2.
          The special verdict form clearly shows that
          the jury found Appellants guilty of possessing
          a firearm in furtherance of both crimes. []
          Thus, even assuming that a Hobbs Act robbery
          is not a crime of violence, Appellants’
          verdicts may be sustained because the jury
          found Appellants guilty of possessing, and
          conspiring   to    possess,   a   firearm   in
          furtherance of the drug trafficking crime of
          which they were convicted in Count 2.      See
          United States v. Najjar, 300 F.3d 466, 480 n.3
          (4th Cir. 2002) (explaining that while “[a]
          general verdict . . . should be set aside in
          cases where the verdict is supportable on one
          ground, but not another, and it is impossible
          to tell which ground the jury selected[,]
          [s]pecial verdicts obviate this problem by
          allowing a court to determine upon what
          factual and legal basis the jury decided a
          given    question”    (quotation    omitted)).
          Accordingly,     we     uphold     Appellants’
          convictions.

Hare, 820 F.3d at 105-06.

     Petitioner   also   appears   to   argue   that   his    sentence       was

enhanced unconstitutionally under the residual clause of the ACCA.

(ECF No. 299-1, at 8-12).          The ACCA provides that a person

convicted under 18 U.S.C. § 922(g) who has: “three previous

convictions . . . for a violent felony or a serious drug offense

. . . shall be fined under this title and imprisoned not less than

fifteen years[.]”   18 U.S.C. § 924(e)(1).       In turn,

          “violent felony” means any crime punishable by
          imprisonment for a term exceeding one year .
          . . that—


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            (i) has as an element the use, attempted use,
            or threatened use of physical force against
            the person of another (“Force Clause”); or

            (ii) is burglary, arson, or extortion,
            involves use of explosives, (“Enumerated
            Crimes Clause”) or otherwise involves conduct
            that presents a serious potential risk of
            physical    injury  to   another   (“Residual
            Clause”)[.]

§ 924(e)(1)(B).     Without reaching the residual clause of the ACCA,

Petitioner qualified as an armed career criminal because he had

three previous convictions for felony drug offenses.                   (ECF No.

284, at 12-13).       Therefore, Petitioner’s sentence was properly

enhanced.

      B.    Supplements to Motion to Vacate Sentence

      Petitioner filed supplements to his motion, two of them after

the expiration of the one-year limitations period for filing a

motion to vacate sentence.       To be timely, a federal prisoner must

file any motion to vacate, set aside, or correct his sentence,

including any amendments, within one year of the date on which the

judgment of conviction becomes final.           28 U.S.C. § 2255(f)(1).

Although Petitioner refers to his filings as supplements pursuant

to   Fed.R.Civ.P.    15(d),   Petitioner     raises   new     claims    in    his

supplements not raised in the original motion, and thus seeks to

amend his original motion.         As a result, the claims raised in

Petitioner’s later two supplements can only be considered if they

relate back to Petitioner’s original motion under Fed.R.Civ.P.

15(c)(1).
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     “The fact that amended claims arise from the same trial and

sentencing proceeding as the original motion does not mean that

the amended claims relate back for purposes of Rule 15(c).” United

States v. Pittman, 209 F.3d 314, 318 (4th Cir. 2000).                 Otherwise,

“amendments to a § 2255 motion would almost invariably be allowed

even after the statute of limitations had expired, because most

§ 2255   claims    arise    from    a    criminal     defendant’s     underlying

conviction and sentence.”          Id.    “In evaluating a ‘relation back’

theory in the context of a § 2255 motion, courts look to see

whether the petitioner’s new claims and original claims ‘arise

from separate occurrences of “both time and type.”’”                 Anderson v.

United   States,   468     F.Supp.2d     780,   784   (D.Md.     2007)   (quoting

Pittman, 209 F.3d at 318).         “For the new claims to relate back to

the original claims, they must arise from the ‘same set of facts,’

and the original motion must have put the government on notice of

the theories asserted in the untimely filing.” Id. (quoting United

States v. Craycraft, 167 F.3d 451, 457 (8th Cir. 1999)).

     Petitioner argues in his first supplement that “the Court

should vacate Count 4 and remand for resentencing” because “[t]he

verdict does not reveal whether the convictions were based upon an

erroneous aider and abettor instruction (in light of Rosemond) or

a Pinkerton instruction.”          (ECF No. 322, at 5-6).           Petitioner’s

initial motion does not address this issue.              Moreover, Petitioner

raised the issue on appeal that this court’s aiding and abetting

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jury instruction was erroneous, which the Fourth Circuit rejected.

See Hare, 820 F.3d at 105; see also United States v. Hastings, 134

F.3d 235, 243-44 (4th Cir. 1998) (holding that even assuming a

given instruction was erroneous, the defendant must demonstrate

that the erroneous instruction resulted in his conviction, not

merely that it was impossible to tell under which prong the jury

convicted).     This argument presents no basis for relief.

     In   his    second   supplement,     Petitioner     claims      that      his

designation as an armed career criminal and sentence enhancement

under the ACCA were improper because he lacks three previous

qualifying convictions.     (ECF No. 333, at 4).       This claim does not

relate back to Petitioner’s claim in his original motion that his

sentence was enhanced unconstitutionally under the residual clause

of the ACCA in light of Johnson and will not be considered.4

Additionally,     Petitioner’s   claims    that    the       court   erred     by

instructing the jury on Pinkerton liability and that counsel was

ineffective for raising this issue on appeal do not relate back to

his original motion and thus are untimely.5


     4 Petitioner raises this claim again in his third supplement.
(ECF No. 342, at 5-6). It will be dismissed for the same reason.

     5  Petitioner challenges the determination by the Fourth
Circuit that even if the court’s aiding and abetting instructions
were erroneous, Petitioner’s conviction could still be sustained
under the Pinkerton theory of liability.     (ECF No. 333, at 6).
Petitioner contends that his conviction could not be sustained
under the Pinkerton theory of liability because a government agent
testified at trial that Petitioner never agreed to be a participant
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       The claims raised in Petitioner’s third supplement do not

relate back to any in his original motion and thus are untimely.

Petitioner attempts to avoid the statute of limitations bar by

bringing a claim that in light of Sessions v. Dimaya, 138 S.Ct.

1204 (2018), his sentence enhancement pursuant to the ACCA is also

unconstitutional.6        (ECF No. 342, at 6-8).           In Dimaya, 138 S.Ct.

at 1210–11, the Supreme Court held that in light of its decision

in     Johnson     that     the    residual      clause     in     the   ACCA      is

unconstitutionally vague, the residual clause in section 16(b) of

the        Immigration     and     Nationality      Act     (“INA”)      is     also

unconstitutionally vague.           Petitioner was not convicted under the

INA and thus Dimaya does not recognize a right that may be asserted

by    Petitioner.         Moreover,    as     previously    discussed,     without

reaching the residual clause of the ACCA, Petitioner qualified as

an armed career criminal because he had three previous convictions




in the robbery of the stash house, thus he could not be a co-
conspirator subject to liability under Pinkerton. (Id. at 7). It
appears that Petitioner’s argument is that the court erred by
instructing the jury on Pinkerton liability and counsel was
ineffective for failing to raise this issue on appeal when counsel
raised the issue that the court’s aiding and abetting instructions
were erroneous.

       6
       Pursuant to § 2255(f)(3) the one-year limitations period
runs from “the date on which the right asserted was initially
recognized by the Supreme Court, if that right has been newly
recognized by the Supreme Court and made retroactively applicable
to cases on collateral review.”
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for    felony    drug   offenses     and    his   sentence     was    appropriately

enhanced.       Thus, Petitioner’s claim in light of Dimaya fails.

IV.    Conclusion

       For the foregoing reasons, the motion to vacate sentence and

first supplement filed by Petitioner Antonio Edwards will be

denied, and the two latest supplements will be dismissed.

       Pursuant to Rule 11(a) of the Rules Governing Proceedings

under 28 U.S.C. §§ 2254 or 2255, the court is also required to

issue or deny a certificate of appealability when it enters a final

order adverse to the petitioner.                A certificate of appealability

is a “jurisdictional prerequisite” to an appeal from the court’s

order.    United States v. Hadden, 475 F.3d 652, 659 (4th Cir. 2007).

A certificate of appealability may issue “only if the applicant

has made a substantial showing of the denial of a constitutional

right.”      28 U.S.C. § 2253(c)(2).              Where the court denies the

petitioner’s motion on its merits, a petitioner satisfies this

standard by demonstrating that reasonable jurists would find the

court’s    assessment     of   the   constitutional        claims     debatable      or

wrong.    See Slack v. McDaniel, 529 U.S. 473, 484 (2000); see also

Miller–El v. Cockrell, 537 U.S. 322, 336–38 (2003). Where a motion

is denied on a procedural ground, a certificate of appealability

will not issue unless the petitioner can demonstrate both “(1)

that jurists of reason would find it debatable whether the petition

states a valid claim of the denial of a constitutional right and

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(2) that jurists of reason would find it debatable whether the

district court was correct in its procedural ruling.”               Rose v.

Lee, 252 F.3d 676, 684 (4th Cir. 2001) (internal marks omitted).

     Upon its review of the record, the court finds that Petitioner

does not satisfy the above standard.       Accordingly, it declines to

issue a certificate of appealability.           A separate order will

follow.




                                                  /s/
                                        DEBORAH K. CHASANOW
                                        United States District Judge




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